       Case: 21-60532        Document: 195          Page: 1   Date Filed: 02/04/2025
             UNITED STATES GOVERNMENT
             NATIONAL LABOR RELATIONS BOARD
             Appellate and Supreme Court Litigation Branch
             Washington, D.C. 20570




                                             February 4, 2025

VIA CM/ECF

Lyle W. Cayce
Clerk, United States Court of Appeals
 for the Fifth Circuit
600 South Maestri Place, Suite 115
New Orleans, LA 70130

      Re:   United Natural Foods, Inc. v. NLRB
            5th Cir. No. 21-60532

Dear Mr. Cayce:

       At oral argument yesterday in the above-captioned case, the panel inquired
as to the vacancy in the National Labor Relations Board’s General Counsel
position. At 5:46pm (EST), as argument was concluding, the Board announced
that the President had appointed William B. Cowen Acting General Counsel of the
Board.


                                             Very truly yours,

                                             /s/ Ruth E. Burdick
                                             Ruth E. Burdick
                                               Deputy Associate General Counsel

                                             National Labor Relations Board
                                             1015 Half Street, SE
                                             Washington, DC 20570


cc: all counsel (via CM/ECF)
